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                            IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF VIRGINIA
                                 CHARLOTTESVILLE DIVISION

                                CIVIL MINUTES – JURY TRIAL
                                              Day Six


   Case No.: 3:17CV72                  Date: Nov. 1, 2021

     Elizabeth Sines, et al                        Counsel: Michael Bloch, Roberta Kaplan,
     Plaintiff(s)                                  Karen Dunn, Jessica Phillips, David Mills,
                                                   Arpine Lawyer, William Isaacson,
     v.                                            Alexandra Conlon, Alan Levine

     Jason Kessler, et al                          Counsel: Bryan Jones, David Campbell,
     Defendant(s)                                  Joshua Smith,

                                                   Richard Spencer, pro se, Christopher
                                                   Cantwell, pro se

                                                   William ReBrook, Elmer Woodard,
                                                   Counsel Appearing by Zoom; Dillon
                                                   Hopper, pro se, Appearing by Zoom



   PRESENT: JUDGE:                   Norman K. Moon              TIME IN COURT: 9:00-
   10:35=1hr 35min; 11:00-12:25=1hr 25min; 1:30-3:05=1hr 35min; 3:25-5:00= 1hr 35min Total=
   6hr 10min
                Deputy Clerk:        Heidi N. Wheeler/Susan Moody
                Court Reporter:      Lisa Blair


                                      LIST OF WITNESSES

       PLAINTIFF                                        DEFENDANT
     1. Devin Willis (continues)                   1.
     2. Samantha Froelich ( Video Depo)


   PROCEEDINGS:
        Plaintiff continues presentation of evidence.

   Additional Information:
   Jury called/seated.
   Cross of Devin Willis continues.
   Break.
   Cross resumes.
   Sidebar
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   Cross resumes.
   Video clip issue addressed regarding Defense Ex. 134.

   After lunch break, out of presence of jury parties continue to work through video exhibits.
   Parties make stipulation on the record of Cantwell Ex. 134 and 138. Also note the Stipulation of
   the authenticity of the Discord production.

   Jury returns to courtroom.
   Cross of Willis continues.
   Break
   Cross of Willis continues.
   Cross concludes.
   Video deposition taken up next. Objections heard. Overruled.
   Video depo of Froelich played/heard for the record.
   Court adjourns for day.
   Jury to return at 9:00 a.m. on Nov. 2.
